    Case: 1:14-cv-01748 Document #: 2904 Filed: 10/26/18 Page 1 of 2 PageID #:76352



                              IN THE UNITED STATES DISTRICT
                            COURT FOR THE NORTHERN DISTRICT
                               OF ILLINOIS EASTERN DIVISION


                                                   MDL No. 2545
IN RE: TESTOSTERONE REPLACEMENT
THERAPY PRODUCTS LIABILITY                         Master Docket Case No. 1:14-cv-01748
LITIGATION
                                                   Honorable Matthew F. Kennelly

THIS DOCUMENT RELATES TO ALL
CASES



                APPLICATION OF SETH A. KATZ SEEKING APPOINTMENT
                     TO THE COMMON BENEFIT FEE COMMITTEE

          Seth A. Katz respectfully submits this application to be appointed to the In re: Testosterone
   Replacement Therapy Products Liability Litigation (MDL No. 2545) Common Benefit Fee
   Committee. In support thereof, Mr. Katz states the following:

            I have been a member of the Plaintiffs' Executive Committee since the beginning of this
   litigation, and I and other members of our law firm have been actively involved in all aspects of
   the litigation. I personally oversaw discovery related to all defendants. I sat as first chair in
   Bellwether trials against both AbbVie and Auxilium. I was specifically responsible for conducting
   and overseeing the AbbVie generic discovery. In my role on the Executive Committee, and in
   overseeing discovery, I have first-hand knowledge of what lawyers and law firms worked for the
   common benefit of the MDL. Burg Simpson Eldredge Hersh & Jardine, P.C. has paid all of its
   capital contributions in this MDL in order to fulfill our obligation to finance this litigation.

          In other litigations, such as the In re: Yasmin and YAZ (Drospirenone) Marketing, Sales
   Practices and Products Liability Litigation (MDL No. 2100), I have served on fee committees and
   am familiar with the way leadership groups assess common benefit contributions. Based on all of
   the above, I request to be appointed to the Common Benefit Fee Committee in this litigation.
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Dated: October 26, 2018                    Respectfully Submitted,

                                           BURG SIMPSON
                                           ELDREDGE HERSH & JARDINE, P.C.

                                           /s/ Seth A. Katz
                                           Seth A. Katz
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                                           Englewood, Colorado 80112
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